945 F.2d 395
    Huffman (Andrew J., Jr., Marie S.)v.Consol- Pennsylvania Coal Company, Rhein Braun U.S.,Monongahela Railway Company, Boggs (David), Pollock (Ewing),Pollock, Pollock and Thomas, The Upshur Agency, Inc.,Consolidated Coal Company, Consol-Land Development Company,Rheinische Braunkohlenwerke, Verkaufsgesellschaft (Maria Therese)
    NO. 90-3491
    United States Court of Appeals,Third Circuit.
    SEP 24, 1991
    
      Appeal From:  W.D.Pa.,
      Smith, J.,
    
    740 F.Supp. 1126
    
      1
      AFFIRMED.
    
    